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                   EXHIBIT A
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                                   Curriculum Vitae

                              BRUCE A. JACOBS, Ph.D.

Biographical sketch
         A tenured Full Professor of Criminology and former Director of two nationally
accredited Criminology Doctoral programs, Dr. Jacobs’ street-based research on armed
robbery, carjacking, and retaliatory violence (drawing from respondents who either were
gang members or who operated in areas known for high gang activity) has been funded
by the National Science Foundation (through the National Consortium on Violence
Research) and the Harry Frank Guggenheim Foundation. Dr. Jacobs served a multi-year
term as Chair of the University of Texas at Dallas’ Safety and Security Council, which
was charged by the President of the University with developing, implementing, and
evaluating a comprehensive safety and security plan for a campus of approximately
21,000 students and 20 million square feet of property. Dr. Jacobs has testified or been
retained as an expert and/or consulting witness by both plaintiff and defense counsel in
matters concerning crime foreseeability, offender deterrability, and/or security adequacy
in hundreds of cases (including the September 11 litigation) covering more than 30
states (including Alaska and Hawaii) and the Commonwealth of Puerto Rico, at both the
State and Federal level. Dr. Jacobs has performed security assessments and/or analyses
of situational crime prevention measures at more than 500 properties nationwide, ranging
from apartment complexes and gas stations to malls, motels, convenience stores, and
transit stations. Dr. Jacobs has engaged in professional outreach with numerous
businesses, organizational representatives, and/or private individuals on issues of crime
analysis, crime prevention, and/or deterrence. Such entities include a supermarket
conglomerate reporting over $2 billion in annual revenues, a hotel chain reporting assets
of over $1 billion, and two private sector property management and development
companies that oversee more than 40,000 apartment units in at least 20 states, and a
Fortune 1000 fast food restaurant corporation. Dr. Jacobs received his Ph.D. in
Sociology, with a specialization in Criminology, from the University of Southern
California (USC) and his Bachelor’s degree from Duke University (Magna Cum Laude,
Phi Beta Kappa).

Contact Information:
Bruce A. Jacobs
600 Williams Dr.
Allen, TX 75013
(469) 261-3208 (phone)
bruceajacobs@gmail.com
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EMPLOYMENT
• Tenured Full Professor (2008-present), University of Texas, Dallas, Program in
Criminology
• Tenured Associate Professor (2003-2008), University of Texas, Dallas, Program in
Criminology
• Tenured Associate Professor (1999-2003), University of Missouri, St. Louis;
Department of Criminology and Criminal Justice
• Untenured Assistant Professor (1994-1999), University of Missouri, St. Louis;
Department of Criminology and Criminal Justice


EDUCATION
•University of Southern California: Ph.D. in Sociology (specialization in Criminology), 1994
•University of Toledo (Ohio): M.A. in Sociology (specialization in Criminology), 1991
•Duke University: B.A. in History, Magna Cum Laude, Phi Beta Kappa, 1989

SUBSTANTIVE SPECIALIZATIONS

Street crime, offender decision-making, qualitative methods

PEER-REVIEWED PUBLICATIONS

Jacobs, Bruce A. and Michael Cherbonneau. In press. “Carjacking: Scope, Structure,
Process, and Prevention.” Annual Review of Criminology. Volume 6.

Jacobs, Bruce A., Michael Cherbonneau, and Justin T. Pickett. In press. “Greed
Restraint: Ambiguity Aversion, Reference Dependence, and Self-Centeredness as
Sources of Self-Regulation in Instrumental Crime.” Crime and Delinquency.

Jacques, Scott and Bruce A. Jacobs. In press. "Proterrence, Rule Illegitimacy, & The
Ban on Tobacco Smoke in Amsterdam’s Coffeeshops.” European Journal of
Criminology.

Jacobs, Bruce A. and Michael Cherbonneau. 2021. “Patience and crime.” Journal of
Research in Crime and Delinquency 58:383-419

Jacobs, Bruce A. and Michael Cherbonneau. 2019. “Reconciling emotion and rational
choice: Negativistic auto theft, consequence irrelevance, and the seduction of
destruction.” Journal of Research in Crime and Delinquency 56:783-815.

Jacobs, Bruce A. and Michael Cherbonneau. 2019. “Carjacking and the management of
natural surveillance.” Journal of Criminal Justice 61:40-47.
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Cherbonneau, Michael and Bruce A. Jacobs. 2019. “Imminent capture and
noncompliance: Probing deterrence in extreme environments.” Justice Quarterly
36:1122-1143.

Jacobs, Bruce A. and Michael Cherbonneau. 2018. “Perceived sanction threats and
projective risk sensitivity: Auto Theft, carjacking, and the channeling effect.” Justice
Quarterly 35: 191-222.

Jacobs, Bruce A. and Michael Cherbonneau. 2017. “Nerve management and crime
accomplishment.” Journal of Research in Crime and Delinquency 54:617-638.

Jacobs, Bruce A. and Lynn A. Addington. 2016. “Gating and residential robbery.”
Crime Prevention and Community Safety 18:19-37

Jacobs, Bruce A. and Michael Cherbonneau. 2016. “Managing victim confrontation:
Auto theft and informal sanction threats.” Justice Quarterly 33:21-44.

Cherbonneau, Michael and Bruce A. Jacobs. 2015. “Retaliatory auto theft.” Journal of
Contemporary Criminal Justice 31:468-491

Jacobs, Bruce A. and Heith Copes. 2015. “Neutralization without drift: Criminal
commitment among persistent offenders.” British Journal of Criminology. 55:286-302.

Jacobs, Bruce A., and Michael Cherbonneau. 2014. “Auto theft and restrictive
deterrence.” Justice Quarterly 31:344-67.

Jacobs, Bruce A. 2013. “The manipulation of fear in carjacking.” Journal of
Contemporary Ethnography 42:523-544.

Jacobs, Bruce A. and Alex R. Piquero 2013. “Boundary-Crossing in Perceptual
Deterrence: Investigating the Linkages between Sanction Severity, Sanction Certainty,
and Offending.” International Journal of Offender Therapy and Comparative
Criminology 57:792-812.

Barnes, J.C., and Bruce A. Jacobs. 2013. “Genetic risk for violent behavior and
environmental exposure to disadvantage and violent crime: The case for gene-
environment interaction.” Journal of Interpersonal Violence 28: 92-120.

Jacobs, Bruce A. 2012. “Carjacking and copresence.” Journal of Research in Crime
and Delinquency 49:471-488.

Jacobs, Bruce A. and Richard Wright. 2010. “Bounded rationality, retaliation, and the
spread of urban violence.” Journal of Interpersonal Violence 25:1739-1766.

Jacobs, Bruce A. 2010. “Deterrence and deterrability.” Criminology 48:417-441.
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Jacobs, Bruce A. 2010. “Serendipity in robbery target selection.” British Journal of
Criminology 50: 514-529.

Jacobs, Bruce A. and Richard Wright. 2008. “Moralistic street robbery.” Crime &
Delinquency 54:511-531.

Jacobs, Bruce A. and Richard Wright. 2006. Street justice: Retaliation in the criminal
underworld. New York: Cambridge University Press.

Description; This book explores the measures taken by active offenders to right
perceived wrongs. Retaliatory assaults, robberies, and attempted homicides are the
focus. Many respondents either were gang members or operated in neighborhoods that
had high levels of gang activity.

Mullins, Christopher, Richard Wright, and Bruce Jacobs. 2004. “Gender, retaliation, and
streetlife.” Criminology 42:911-940.

Jacobs, Bruce A. 2004. “A typology of street criminal retaliation.” Journal of Research
in Crime and Delinquency 41:295-323.

Jacobs, Bruce A., Volkan Topalli, and Richard Wright. 2003. “Carjacking, street life,
and offender motivation.” British Journal of Criminology 43: 673-688.

Rosenfeld, Richard, Bruce A. Jacobs, and Richard Wright 2003. “Snitching and the code
of the streets.” British Journal of Criminology 43:291-309.

Jacobs, Bruce A., Volkan Topalli, and Richard Wright 2000. "Managing retaliation:
Drug robbery and informal sanction threats." Criminology 38:171-198.

Jacobs, Bruce A. 2000. Robbing drug dealers: Violence beyond the law. New York:
Aldine de Gruyter.

Description: This book explores the decision-making processes of armed and strong arm
robbers who target “extralegal” victims. The book pays particular attention to the
motivation, target selection, and enactment processes relevant to robberies beyond the
law. Many respondents either were gang members or operated in neighborhoods that
had high levels of gang activity.

Jacobs, Bruce A. 1999. "Crack to heroin? Drug markets and transition." British Journal
of Criminology 39:555-574.

Jacobs, Bruce A. and Richard Wright. 1999. "Stick-up, street culture, and offender
motivation." Criminology 37:149-173.

Jacobs, Bruce A. 1999. Dealing crack: The social world of streetcorner selling. Boston:
Northeastern University Press.
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Description: This book explores the use, distribution, and control of street crack from
the offenders’ perspective. The processes by which offenders assess and manage arrest
risk is a prominent theme in the text. Respondents typically were involved in street
gangs, although they also typically sold for individual profit.

Jacobs, Bruce A. and Jody Miller. 1998. "Crack selling, gender, and arrest avoidance."
Social Problems 45:550-569.

Jacobs, Bruce A. 1998. "Drug dealing and negative reciprocity" Deviant Behavior
19:29-49.

Jacobs, Bruce A. 1997. "Contingent ties: Undercover drug officers' use of informants."
British Journal of Sociology 48:35-53.

Jacobs, Bruce A. 1996. "Crack dealers and restrictive deterrence: Identifying narcs."
Criminology 34:409-431.

Jacobs, Bruce A. 1996. "Crack dealers' apprehension avoidance techniques: A case of
restrictive deterrence." Justice Quarterly 13:359-381.

Jacobs, Bruce A. 1996. "Cognitive bridges: The case of high school undercover
officers." The Sociological Quarterly. 37:391-412.

Jacobs, Bruce A. 1994. "Undercover social-distancing techniques." Symbolic
Interaction 17:395-410.

Jacobs, Bruce A. 1994, "Anticipatory undercover operations in high schools." Journal
of Criminal Justice 22:445-457.

Jacobs, Bruce A. 1993. "Undercover deception clues: A case of restrictive deterrence."
Criminology 31:281-299.

Jacobs, Bruce A. 1993. "Getting narced: neutralization of undercover identity
discreditation." Deviant Behavior 14:187-208.



TEXTBOOKS

Jacobs, Bruce A. 2002. Investigating deviance: An anthology. Los Angeles: Roxbury.

Description: This book is a text-reader on the sociology of deviance, exploring why and
how people commit serious wrongdoings.

OTHER PUBLICATIONS
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*Jacobs, Bruce A. 2007. “Jumpstarting foreseeability.” Trial Practice Journal
(published by the Trial Practice Litigation Section of the American Bar Association)
21:16-20.

       *This article has been adapted by The American Trial Lawyer and was scheduled
       to be reprinted in an upcoming issue.

Jacobs, Bruce A. 2006. “Foreseeability and duty of care in third-party premises
liability.” The Brief (published by the American Bar Association). Winter. Volume 35,
pages 54-61.

Jacobs, Bruce A. 2005. “When is crime foreseeable?” For The Defense. June, 18-20,
pp. 57-8.

Jacobs, Bruce A. 2004. “The undeterrable offender and your client’s liability.” For The
Defense. April, pp. 16-19.

BOOK CHAPTERS

Jacobs, Bruce A. 2005. “Danger and criminological fieldwork.” For The Handbook of
Field Research, edited by Dick Hobbs and Richard Wright. Newbury Park: Sage.

Jacobs, Bruce A., Volkan Topalli, and Richard Wright. 2005. “The experience of
carjacking.” Previously published article adapted by by Thio, Alex, and Thomas
Calhoun. Readings in Deviant Behavior, 4th edition, Boston: Allyn and Bacon.

Jacobs, Bruce A. and Richard Wright. 2005. "Stick-up, street culture, and offender
motivation." Previously published article reprinted in In Their Own Words: Criminals
on Crime, 4th edition, edited by Paul Cromwell, Los Angeles: Roxbury.

Jacobs, Bruce A. 2002. “Crack to heroin?: Drug markets and transition.” Previously
published article reprinted in Drugs, crime, and justice, 2nd edition, edited by L. Gaines
and P. Kraska, Long Grove, Il: Waveland Press.

Jacobs, Bruce A. 1999. "Crack in decline: The social organization of curbside crack
sales in St. Louis." Previously published book chapter reprinted in In Their Own Words:
Criminals on Crime, 3rd edition, edited by Paul Cromwell, Los Angeles: Roxbury.

Jacobs, Bruce A. 1998 "Researching crack dealers: Confessions, dilemmas, strategies."
In Ethnography at the Edge: Crime, Deviance, and Fieldwork, pp. 160-177, edited by
Jeff Ferrell and Mark Hamm, Boston: Northeastern University Press.

       Reprinted in In Their Own Words: Criminals on Crime, 4th edition, edited by
Paul Cromwell, Los Angeles: Roxbury.
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Jacobs, Bruce A. 1997. "Crack dealers' apprehension avoidance techniques." Previously
published article reprinted in The Language of research in criminal justice: A reader.
edited by Pamela Tontodonato and Frank Hagan, Boston: Allyn and Bacon.

REPORTS

Kempf-Leonard, Kimberly, Bruce A. Jacobs, and Pernilla Johansson. 2005. “The role of
gender in juvenile referral, case processing, and treatment in the Dallas County Juvenile
Department.” Submitted to the Criminal Justice Division, Office of the Governor of
Texas.


FUNDED GRANTS

Principal Investigator: Kimberly Kempf-Leonard, Co-Principal Investigator: Bruce A.
Jacobs. “Female-specific services: Obstacles and opportunities.” Amount: $71,807
Federal Office of Juvenile Justice and Delinquency Prevention Challenge Grant Program,
awarded from the Criminal Justice Division, Office of the Governor, State of Texas.
January 1, 2004-June 30, 2005.

Principal Investigator: Bruce A. Jacobs, Co-Principal Investigator: Richard Wright.
“Criminal retaliation: A qualitative study of social control beyond the law.” Amount:
$29,478. Harry Frank Guggenheim Foundation. January 1, 2003-December 31, 2003.

Principal Investigator: Richard Wright, Co-Principal Investigators: Volkan Topalli and
Bruce A. Jacobs. “The carjacker’s perspective: A qualitative study of urban violence.”
Amount: $31,250. Harry Frank Guggenheim Foundation. January 1, 2000-December
31, 2000.

Principal Investigator: Richard Wright; Co-Principal Investigator: Bruce A. Jacobs.
"Drug robbery and urban violence." Amount: $90,477. National Consortium on
Violence Research. June 1, 1998-May 31, 1999.

Principal Investigator: Bruce A. Jacobs "Street-level heroin sales in St. Louis."
Amount: $10,315. University of Missouri-St. Louis Summer Research Award . June 15,
1998-August 31, 1998.

Principal Investigator: Scott Decker. Co-Principal Investigators: Richard Rosenfeld and
Bruce A. Jacobs. "Consent to confiscate: An evaluation of the St. Louis Firearm
suppression project." Amount: $326,554. National Institute of Justice. October 1,
1995-September 30, 1997.

Principal Investigator: Bruce A. Jacobs "Female crack dealers: An exploratory study."
Amount: $7,450. University of Missouri research Board award. May 1, 1996-April 30,
1997.
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Principal Investigator: Bruce A. Jacobs "Female crack dealers: An exploratory study."
Amount: $6,675. University of Missouri--St. Louis Summer Research Award. May 1,
1996-April 30, 1997 (funds returned in light of UMRB funding).

Principal Investigator: Bruce A. Jacobs "Identifying narcs: The case of Crack Dealers."
Amount: $14,016. University of Missouri Research Board Award. July 1 1995- June 30,
1996.

Principal Investigator: Bruce A. Jacobs "Identifying narcs: The case of Crack Dealers."
Amount: $7,100. University of Missouri--St. Louis Summer Research Award. July 1,
1995-June 30, 1996 (funds returned in light of UMRB funding.

UNFUNDED GRANT APPLICATIONS

Principal Investigator: Marjorie A. Zielke, Co-Investigators: Robert W. Taylor, Bruce
A. Jacobs, et al. “An Open Platform for Understanding Strategic Social Interactions.”
Amount: $17,067,158. Defense Advance Research Projects Agency (through the United
States Deptartment of Defense). July 1, 2011-December 31, 2014.

Principal Investigator: Bruce A. Jacobs. "Criminal retaliation: A qualitative study of
social control beyond the law." Amount: $127,000. National Science Foundation. July
1, 2001-June 30, 2002.

Principal Investigator: Bruce A. Jacobs. "Criminal retaliation: A qualitative study of
social control beyond the law." Amount: $100,611. National Science Foundation. July
1, 2001-June 30, 2002.

Principal Investigator: Bruce A. Jacobs "Street-level heroin sales in St. Louis."
Amount: $69,346. National Institute on Drug Abuse. May 1, 1999-April 30, 2000.

Principal Investigator: Bruce A. Jacobs "Street-level heroin sales in St. Louis."
Amount: $74,396. National Institute on Drug Abuse. May 1, 1998-April 30, 1999.

Co-Principal Investigator (consultant year one): Bruce A. Jacobs “Natural transitions in
crack distribution/abuse.” Amount: $4,031,298. National Institute on Drug Abuse.
December 1, 1997-November 30, 2002.



PROFESSIONAL SERVICE

• Member, Mid-Probationary Review Committee, Yeongjeom Lee, 2022

• Chair, Mid-Probationary Review Committee, Michelle Harris, 2022

• Member, Mid-Probationary Review Committee, Ashwin Venkataraman, 2022
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• Member, Master’s Thesis Committee, Maxwell Parsons, 2022

• Member, Texas Transfer Framework Field of Study Discipline-Specific Subcomittee for
Criminal Justice, Texas Higher Education Coordinating Board, 2021-2024

• Member, Mid-Probationary Review Committee, Shervid Tehrani, 2021

• Chair, Master’s Thesis Committee, Yeonjae Park, 2021

• Member, Program in Sociology, Search Committee for Qualitative Faculty Member,
2021

• Member, Doctoral Dissertation Committee, Jordan Riddell, 2021

• Member, Doctoral Dissertation Committee, Dragana Derlic, 2021

• Member, Doctoral Dissertation Committee, Valerie Womack, 2020

• Member, Doctoral Dissertation Committee, Richard Hernandez, 2020

• Member, Doctoral Dissertation Committee, Haneul Yim, 2020

• Chair, Master’s Thesis Committee, Naschaly Gonzalez, 2020

• Chair, Master’s Thesis Committee, Samantha Manuel, 2020

• Member, Master’s Thesis Committee, Katherine Wilds, 2020

• Member, Master’s Thesis Committee, Elle Repeta, 2020

• Member, Ad Hoc Third Year Review Committee, Gil Sadka, 2020

• Member, Learning Management Systems Committee, 2019-

• Member, Dissertation Committee, Jennifer Laprade, 2019-

• Member, Thesis Committee, Karl Santos, 2019-

• Member, Mid-Probationary Review Committee, Khai Chiong, 2019

• Member, Dissertation Committee, Meng Ru Shi, 2018-

• Chair, Mid-Probationary Review Committee, Jon Maskaly, 2018

• Member, Dissertation Committee, Chidike Okeem, 2017-
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• Chair, Promotion Committee of Dr. Lynne Vieraitis, 2017

• Member, Mid-Probationary Review Committee for Sarah Maxwell, 2015

• Member, Program Committee in Criminology, 2015-

• Member, University Commencement Committee, 2014-6

• Chair, Comprehensive Examination Committee in Criminology, 2010-

• Chair, Tenure and Promotion Committee Criteria Development, 2012-

• Chair, University Safety and Security Council, 2011-2014

• Member, School of Economic, Political, and Policy Sciences Personnel Review
  Committee, 2010-

• Member, University Safety and Security Council, 2010-2014

• Member, University Committee on Educational Policy, 2009-

• Member, University Committee on Academic Integrity, 2009-

• Member, Promotion to Full Professor Committee for Dr. Sheryl Skaggs, 2014

• Member, Third Year Review Committee of Dr. Nadine Connell, 2012

• Chair, Tenure and Promotion Committee of Dr. Nadine Connell, 2016

• Chair, Tenure and Promotion Committee of Dr. Karen Hayslett-McCall

• Member, Tenure and Promotion Committee of Dr. Denise Boots

• Director of Doctoral and Master’s Degree Program in Criminology, University of Texas
at Dallas, 2007-2009

• Member, University Parking and Transportation Committee, 2007-2009

• Member, Dissertation Committee (Ivan Wong), 2016

• Member, Dissertation Committee (Michele Meitl), 2016

• Member, Dissertation Committee (Amny Shuryadi), 2016

• Member, Dissertation Committee (Stephanie Cardwell), 2016
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• Member, Dissertation Committee (Erik Milzcik), 2016

• Member, Dissertation Committee (Mark Saber), 2015

• Chair, Dissertation Committee (Michael Cherbonneau), 2013-4

• Chair, Dissertation Committee (Ashford Dixon), 2013

• Chair, Dissertation Committee (Steven Downing), 2007

• Member, Dissertation Committee (Rashaan DeShay), 2013

• Member, Master Thesis Committee (Jordan Riddell), 2017

• Member, Master Thesis Committee (Richard Hernandez), 2016

• Member, Master Thesis Committee (Erik Milzcik), 2015

• Member, Master Thesis Committee (Vrishai Kanvinde), 2016

• Member, Master Thesis Committee (Arthur Vasquez), 2013

• Member, Graduate Committee, Program in Criminology, 2006-

• Chair, University Library Committee, 2005-6

• External Chair, dissertation committee, 2005

• Member, Library and Other Learning Resources Committee, relevant to accreditation of
UTD by the Southern Association of Colleges and Schools

• 3rd Year Review Committee Member, 2004, 2005, 2006

• Member, dissertation committee, 2005, 2006

• Member, Analytic Writing Requirement Committee of Richard Friedmann

• Program Review Committee, Crime and Justice Studies, 2005, 2006

• School of Social Sciences Self-study Committee, University of Texas-Dallas, 2004

• Faculty Search Committee, nine separate searches, Crime and Justice Studies,
University of Texas-Dallas, 2004-current
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• Peer Reviewer for Criminology, Police Quarterly, Crime and Delinquency Justice
Quarterly, Journal of Research in Crime and Delinquency, Journal of Quantitative
Criminology, British Journal of Sociology, The Sociological Quarterly, Journal of
Contemporary Ethnography, Deviant Behavior, Journal of Drug Issues, Sociological
Theory, Urban Affairs Review, International Journal of Police Management,
International Journal of Applied and Comparative Criminal Justice, Sage Publications,
Roxbury Publishing Co., New York University Press.

• Division chair on robbery for annual meeting of the American Society of Criminology,
2000, San Francisco

• Director of Graduate Studies, University of Missouri-St. Louis, Department of
Criminology and Criminal Justice, Jan. 2002-June 2003

• Member, dissertation committee, 2006

• Committee Chair, Ad Hoc 3rd Year Review Committee, 2005

• Executive Committee member, University of Missouri-St. Louis, Department of
Criminology and Criminal Justice, 2000-present

• Graduate Committee member, University of Missouri-St. Louis, Department of
Criminology and Criminal Justice, 1998-2000

• Qualifying Examinations Committee member, University of Missouri-St. Louis,
Department of Criminology and Criminal Justice, 1998-2000

• Member, University Library Committee, University of Texas-Dallas, 2005-6

• Departmental library liaison, University of Missouri-St. Louis, 1998-present

• Member, Student Affairs Committee, American Society of Criminology, 1997

• Representative, Faculty Council, University of Missouri-St. Louis, 1996-7, 1998-
present


PUBLICATIONS RELEVANT TO SERVICE

Jacobs, Bruce A. 2001. “Robbing drug dealers: An intractable problem for
policymakers.” Published in the Public Policy Research Center’s Policy Briefs Series,
University of Missouri-St. Louis.


PAPER PRESENTATIONS AND/OR TRAINING PROVIDED
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Cherbonneau, Michael, and Bruce A. Jacobs. 2020. Patience and Crime. Accepted for
presentation at the Annual Meeting of the Academy of Criminal Justice Sciences which
was to be held March 24-28, 2020 in San Antonio, TX but was canceled due to the
COVID-19 pandemic.

Cherbonneau, Michael, and Bruce A. Jacobs. 2020. Greed Restraint and Ambiguity
Aversion in Drug Robbery. Accepted for presentation at the Annual Meeting of the
American Society of Criminology which was to be held in November of 2020 in
Washington, D.C. but was canceled due to the COVID-19 pandemic.

Cherbonneau, Michael and Bruce A. Jacobs 2017. “Imminent Capture: Probing the
Functional Limits of Perceptual Deterrence.” Paper read at the Annual Meeting of the
American Society of Criminology, Philadelphia, PA

Cherbonneau, Michael G. and Bruce A. Jacobs. 2016. “Nerve management and crime
accomplishment.” Presented at the Southern Criminal Justice Assosication Annual
Meeting in Savannah, GA.

Cherbonneau, Michael G. and Bruce A. Jacobs. 2015. “Retaliatory auto theft.”
Presented at the American Society of Criminology's Annual Meeting in Washington,
D.C., November.

Jacobs, Bruce A. 2015. “Assessing atmosphere of violence and proximate cause in
negligent security litigation.” 25th Annual Joint Seminar of the Mississippi Claims
Association and the Mississippi Defense Lawyers Association, Jackson, MS. October.

Jacobs, Bruce A. 2015. “Premises security.” HADA Conference, Cleveland, Ohio.
September.

Cherbonneau, Michael G. and Bruce A. Jacobs. 2013. “Managing victim confrontation
in auto theft.” Presented at the American Society of Criminology's Annual Meeting in
Atlanta, November.

Cherbonneau, Michael G. and Bruce A. Jacobs. 2011. “Auto theft and restrictive
deterrence.” Presented at the American Society of Criminology's Annual Meeting in
Washington, D.C., November.

Jacobs, Bruce A. 2011. “Violence in the Marketplace: Catastrophic Premises Cases.”
Presentation given to the Defense Research Institute. Chicago, IL. May 13.

DeLonay, Michael, Ben Griffith, Mark Farrell, and Bruce Jacobs. 2009. “Premises
security litigation: Strategies for managing and resolving premises security lawsuits.”
Continuing education seminar presented at the Swiss Re Academy, Overland Park, KS,
June 18.
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Jacobs, Bruce A. 2008. “Risk assessment for gang membership.” Presented at the Sixth
Annual Forensics Seminar of the Texas Criminal Defense Lawyers Association, Dallas,
TX, October 23.

Jacobs, Bruce A. 2008. “Criminal deterrability and causation.” Presented at the Annual
Conference of the National Crime Victim Bar Association, Chicago, IL., October 19.

Jacobs, Bruce A. 2008. “Third party premises liability and landholders’ responsibility for
violence.” Presented at the Annual Meeting and Bench and Bar Conference of the State
Bar of New Mexico: From Crisis to Courthouse, July 19.

Jacobs Bruce A. 2007. “Third party premises liability: Lessons from criminology.”
Presented at the Albuquerque Bar Association, CLE Clinic, June 5.

Jacobs Bruce A. 2007. “Building and defending a third party premises liability claim:
Lessons from criminology.” Presented at the Maricopa County Bar Association, CLE
Clinic, March 15.

Jacobs Bruce A. 2006. “Foreseeability and duty of care in premises liability.” Presented
at the Dallas Bar Foundation, CLE Clinic, January 26.

Jacobs Bruce A. 2005. “Foreseeability and duty of care in premises liability.” Presented
at the Association of Metropolitan St. Louis, CLE Clinic, October 6.

Jacobs, Bruce A. 2004. “Crime foreseeablity, offender deterrability, and premises
liability: Lessons from criminology.” Presented at the Dallas Bar Association, CLE
Clinic, April 2.

Jacobs, Bruce A. 2000. "Target selection in drug robbery." Presented at the American
Society of Criminology's Annual Meeting in San Francisco, CA.

Jacobs, Bruce A., Volkan Topalli, and Richard Wright 1999. "Managing retaliation:
Drug robbery and informal sanction threats." Presented at the American Society of
Criminology's Annual Meeting in Toronto, Canada.

Jacobs, Bruce A. 1998. "Crack in decline." Presented at the American Society of
Criminology's Annual Meeting in Washington, D.C.

Jacobs, Bruce A. and Richard Wright 1998. "Armed robbery and street culture."
Presented at the American Society of Criminology's Annual Meeting in Washington,
D.C.

Jacobs, Bruce A. 1997. "The social organization of streetcorner crack sales in St.
Louis." Presented at the American Society of Criminology's Annual Meeting in San
Diego, CA.
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Jacobs, Bruce A. 1997. "Researching active crack dealers." Presented at the American
Society of Criminology's Annual Meeting in San Diego, CA.

Jacobs, Bruce A. 1996. "Being on the down-low: Female crack dealers and restrictive
deterrence." Presented at the American Society of Criminology's Annual Meeting in
Chicago, Ill.

Jacobs, Bruce A. 1995. "Contingent ties: Undercover drug officers' use of informants."
Presented at the American Society of Criminology's Annual Meeting in Boston, MA.

Jacobs, Bruce A. 1992. "Undercover deception clues." Presented at the American
Sociological Association's Annual Meeting in Pittsburgh, PA.

SEMINARS ATTENDED

“Lighting for security and crime deterrence: Understanding and applying security
principles and IESNA’s G-1-03 Guidelines for Security Lighting for People, Property,
and Public Spaces,” Dallas, TX, December 2008,

FILM AND BOOK REVIEWS

Jacobs, Bruce A. 1993. "Tragic magic: the life and crimes of a heroin addict." (book
review) Journal of Contemporary Ethnography 22:249-251.

Jacobs, Bruce A. 1992. "Rush" (film review). Humanity and Society 16:253-256.

LITIGATION SUPPORT

Consulting or testifying expert in premises liability litigation involving the following
incident-types:

Partial list:

• Double rape and triple attempted murder (knife)
• Aggravated assault (blunt force)
• Jewelry-line robbery
• Homicide (firearm)
• Homicide (firearm)
• Double homicide and attempted murder (firearm)
• Aggravated assault (blunt force)
• Armed robbery/homicide (firearm)
• Armed robbery/aggravated assault (blunt force)
• Serial murder (strangulation)
• Accidental homicide (firearm)
• Homicide (firearm)
• Homicide (firearm)
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• Homicide (firearm)
• Homicide (firearm)
• Armed robbery/aggravated assault (firearm)
• Homicide (firearm)
• Homicide (firearm)
• Sexual assault (no weapon)
• Carjacking/attempted homicide (firearm)
• Abduction/sexual assault (knife)
• Homicide (firearm)
• Carjacking/abduction/attempted homicide (firearm)
• Aggravated Assault (non-firearm)
• Robbery/assault (non-firearm)
• Robbery/shooting (firearm)
• Carjacking/homicide (firearm)
• Aggravated assault/armed robbery (knife)
• Carjacking/abduction/sexual assault (threat of firearm)
• Carjacking/attempted murder (firearm)
• Carjacking/abduction/attempted homicide (firearm)
• Robbery (firearm)
• Homicide (firearm)
• Attempted homicide (firearm)
• Double homicide and multiple-victim shooting (firearm)
• Aggravated assault
• Homicide (firearm) and multiple-victim shooting
• Carjacking/abduction/homicide (strangulation)
• Carjacking/robbery/abduction/homicide (firearm)
• Strong arm robbery (non-firearm)
• Aggravated assault (firearm)
• Aggravated assault (non-firearm)
• Aggravated assault (blunt force)
• Armed robbery (firearm)
• Armed robbery/shooting (firearm)
• Aggravated assault (blunt force)
• Robbery/assault (non-firearm)
• Quadruple homicide (firearm)
• Robbery/shooting (firearm)
• Robbery/shooting (firearm)
• Suspected arson (with injury)
• Carjacking/abduction/sexual assault/homicide (firearm)
• Attempted homicide (firearm)
• Attempted homicide (firearm)
• Aggravated assault (firearm)
• Aggravated assault (non-firearm)
• Robbery/homicide/attempted homicide (firearm)
• Robbery/abduction/sexual assault (firearm suspected)
• Aggravated Assault (non-firearm)
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• Ambulance theft/crash/fatality
• Aggravated assault (non-firearm)
• Robbery/gang rape (firearm)
• Attempted homicide (blunt force)
• Aggravated assault (non-firearm)
• Homicide (cutting instrument)
• Strong arm robbery (non-firearm)
• Robbery/attempted murder (firearm)
• Aggravated assault/abduction/sexual assault (non-firearm)
• Double homicide (firearm)
• Homicide (firearm)
• Multiple homicide bus-jacking (box cutter)
• Aggravated assault (non-firearm)
• Burglary
• Attempted murder (firearm)
• Attempted murder (firearm)
• Abduction/sexual assault/homicide (stabbing)
• Triple homicide and multiple-victim injury (pick-up truck crashed through building)
• Attempted murder (firearm)
• Homicide/robbery (firearm)
• Attempted murder/armed robbery (firearm)
• Aggravated assault (non-firearm)
• Homicide (stabbing)
• Homicide (firearm)
• Homicide (firearm)
• Homicide (firearm)
• Homicide/robbery (firearm)
• Homicide (firearm)
• Aggravated assault (firearm)
• Robbery/Aggravated assault (blunt force)
• Bank robbery/homicide/double attempted murder (firearm)
• Aggravated assault (knife)
• Double homicide (firearm)
• Aggravated sexual assault (knife)
• Strong arm robbery (non-firearm)
• Arson
• Attempted murder (blunt force)
• Aggravated assault (firearm)
• Carjacking/shooting (firearm)
• Aggravated assault (non-firearm)
• Homicide/robbery/sexual assault (knife)
• Homicide (firearm)
• Multiple-fatality arson
• Homicide (firearm)
• Attempted homicide (firearm)
• Homicide/aggravated assault (firearm)
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• Mass murder

SECURITY ASSESSMENTS/ANALYSES

Location-types: Apartment complexes, convenience stores, grocery stores, restaurants,
gas stations, hotels/motels, miscellaneous others

Analytic categories of possible relevance : Access controls, surveillance cameras, guard
deployment, situational crime prevention, crime prevention through environmental
design, miscellaneous policies and procedures

Total number of properties reviewed/assessed: More than 500

Partial List:

• Corner Stop; Houston, TX
• Sun Coast Food Market; Houston, TX
• Save a Drive Grocery; Houston, TX
• Shell Service Station; Houston, TX
• Good Times Stop; Houston, TX
• Saveway Food Market; Houston, TX
• Sunny’s Conoco; Houston, TX
• Raks Food Store; Houston, TX
• Super 7 Food Market; Houston, TX
• Foodarama Market; Houston, TX
• Eagle Food Center; Houston, TX
• Skay’s Chevron; Houston, TX
• Food Spot; Houston, TX
• SCC; Houston, TX
• Casa La Paz Apartments; Rowland Heights, CA
• Parkwood Apartments; Rowland Heights, CA
• Hacienda Gardens; Rowland Heights, CA
• Rowland Heights Apartments; Rowland Heights, CA
• Palms South Apartments; Rowland Heights, CA
• East Villa Apartments; Rowland Heights, CA
• La Serena Apartments; Rowland Heights, CA
• Victoria Woods Apartments; Rowland Heights, CA
• La Puente Gardens; Rowland Heights, CA
• Woodcrest Apartments; Rowland Heights, CA
• Villa Las Brisas Apartments; La Puente, CA
• Cinnamon Hollow Apartments; West Covina, CA
• Zidal Food; Jacksonville, FL
• Welcome Food Store; Jacksonville, FL
• Shell; Jacksonville, FL
• B.P.; Jacksonville, FL
• Lil’ Champ Food Store; Jacksonville, FL
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• S. P. Discount Beverage; Jacksonville, FL
• Fast Stop Food Store; Jacksonville, FL
• Sprint Food Store; Jacksonville, FL
• Exxon At 103rd; Jacksonville, FL
• Shell; Jacksonville, FL
• Sprint Food Store; Jacksonville, FL
• Rainbow 3 Food Store; Jacksonville, FL
• Kangaroo Express; Jacksonville, FL
• Golden Food Store; Jacksonville, FL
• Jammes Food Store; Jacksonville, FL
• Safeco Food Store; Jacksonville, FL
• Westside Food Store; Jacksonville, FL
• Snappy Food Mart; Jacksonville, FL
• Sunrise Food Mart; Jacksonville, FL
• Wilson Boulevard Food Mart; Jacksonville, FL
• Sprint Food Store; Jacksonville, FL
• Blanding Chevron; Jacksonville, FL
• Aventerra Apartments; Dallas, TX
• Stone Manor Apartments; Dallas, TX
• Northaven Terrace Apartments; Dallas, TX
• Sierra Vista Apartments; Dallas, TX
• Las Brisas Apartments; Dallas, TX
• Villa Creek Apartments; Farmers Branch, TX
• London Villa Apartments; Farmers Branch, TX
• Plantation Royal Apartments; Dallas, TX
• Spanish Garden Apartments; Dallas, TX
• Bentley Retirement Residence; Dallas, TX
• Forest Park Village; Dallas, TX
• Forest Dale Apartments; Farmers Branch, TX
• Park Forest Apartments; Farmers Branch, TX
• Havenhurst Apartments; Farmers Branch, TX
• Royal Lane Village; Dallas, TX
• Emeritus Village Oaks; Farmers Branch, TX
• Southwind Manor; Dallas, TX
• Park Lane Village; Dallas, TX
• Woodland Village; Dallas, TX
• Park Place Apartments; Dallas, TX
• Texas Super Stop; Houston, TX
• Handi Stop 4; Houston, TX
• Northside Food Mart; Houston, TX
• Sunmart; Houston, TX
• Shell; Houston, TX
• Sunny Food Store; Houston, TX
• Airline Conoco; Houston, TX
• Handy Plus; Houston, TX
• Handi Plus Food Store; Houston, TX
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• Timewise Food Stores; Houston, TX
• Shop & Go; Houston, TX
• Link Food Store; Houston, TX
• First Stop; Houston, TX
• Crosstimbers Drive Inn Grocery; Houston, TX
• Sunny Food Store; Houston, TX
• Super J’s Food Store; Houston, TX
• 7 Evenings Food Store; Houston, TX
• Train Super Market; Houston, TX
• HEB Foods; Houston, TX
• Tienda Salvadovena; Houston, TX
• Best Food Mart; Houston, TX
• Best Food Market; Houston, TX
• J & M Grocery; Houston, TX
• Airline Food Mart; Houston, TX
• A & B Grocery; Houston, TX
• May Food Market; Houston, TX
• Kee’s Fulton Grocery Store; Houston, TX
• Harvest Food Store; Houston, TX
• Kowloon Super Market; Houston, TX
• Sing-On Supermarket; Houston, TX
• Freddies C & C; Houston, TX
• Team Star Food Store; Houston, TX
• El Mexicana Supermarket; Houston, TX
• Booker T Supermarket; Houston, TX
• Mike’s Pit Stop; Houston, TX
• John Handi; Houston, TX
• C & J Supermarket; Houston, TX
• Rand Food Store; Houston, TX
• Hirsch Food Store; Houston, TX
• Big G Drive Inn; Houston, TX
• Oak Tree Apartments; Jacksonville, FL
• Commander Apartment; Jacksonville, FL
• San Juan Villas; Jacksonville, FL
• Owen’s Oil Co.; Jacksonville, FL
• Snack & Gas Store; Jacksonville, FL
• University Express Mart; Jacksonville, FL
• St. Discount Beverage; Jacksonville, FL
• Old King Quickmart; Jacksonville, FL
• Safeco Food Stores; Jacksonville, FL
• Lil’ Champ Food Store; Jacksonville, FL
• Lil’ Champ Food Store; Jacksonville, FL
• Dupont Gardens; Jacksonville, FL
• Taylor Residences; Jacksonville, FL
• San Jose Manor One; Jacksonville, FL
• Plantation Apartments; Jacksonville, FL
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• Williamsburg Commons Apartments; Jacksonville, FL
• La Mirada Apartments; Jacksonville, FL
• San Jose Villa Apartments; Jacksonville, FL
• San Jose Towers Apartments; Jacksonville, FL
• King Crossing; Jacksonville, FL
• Gardens at Lakewood; Jacksonville, FL
• Lion’s Head Apartments; Jacksonville, FL
• Pizza Hut; Kansas City, MO
• McDonalds; Kansas City, MO
• Taco Bell; Kansas City, MO
• Golden Seafood; Kansas City, MO
• Church’s Chicken; Kansas City, MO
• Country’s Tavern; Kansas City, MO
• Super Wok; Kansas City, MO
• Pete’s Home Cookin; Kansas City, MO
• Richard’s Place; Kansas City, MO
• Old Folk’s Restaurant & Lounge; Kansas City, MO
• Amoco Food Shop; Kansas City, MO
• 7-11 #18711; Kansas City, MO
• Midwest Conoco; Kansas City, MO
• Service Oil, Co.; Kansas City, MO
• Petro, USA; Kansas City, MO
• Hilltop Quick Shop; Kansas City, MO
• Mike’s Market; Kansas City, MO
• Woodland Park Apartments; Houston, TX
• Crest Apartments; Houston, TX
• Hunter’s Point; Houston, TX
• Willows; Dallas, TX
• Cedarbrook; Dallas, TX
• Eagle Creek; Dallas, TX
• Renaissance; Dallas, TX
• Haverly Parks; Dallas, TX
• Oakwood; Dallas, TX
• Villas of Timberglen Vail; Dallas, TX
• Park on Rosemeade; Dallas, TX
• Versailles Apartments; Dallas, TX
• Dana Point Apartments; Dallas, TX
• City Limits; Dallas, TX
• Colonial Village at Pear Ridge; Dallas, TX
• Plantation Apartments; Jacksonville, FL
• Kings Crossing; Jacksonville, FL
• San Jose Manor One; Jacksonville, FL
• Taylor Residences; Jacksonville, FL
• Park Royal Apartments; Jacksonville, FL
• San Jose Towers Apartments; Jacksonville, FL
• Heron Walk; Jacksonville, FL
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• Dupont Gardens; Jacksonville, FL
• Pinebrook Apartments; Jacksonville, FL
• Ravenwood Apartments; Jacksonville, FL
• Colony at San Jose; Jacksonville, FL
• Lion’s Head; Jacksonville, FL
• Gardens at Lakewood; Jacksonville, FL
• Six Thousand on the River; Jacksonville, FL
• South Point Place Apartments; Jacksonville, FL
• Whispering Palms; Jacksonville, FL
• Stonewood Apartments; Jacksonville, FL
• Heather Ridge; Jacksonville, FL
• Park View Place; Jacksonville, FL
• Lakewood Village Apartments; Jacksonville, FL
• Padrino’s Restaurant; Hallandale Beach, FL
• Nando Restaurant; Hallandale Beach, FL
• Chicken Kitchen; Hallandale Beach, FL
• Beachside Café; Hallandale, FL
• Chef Anthony Continental; Hallandale Beach, FL
• Tony’s Pizza; Hollywood, FL
• Nikki Marina Restaurant; Hollywood, FL
• Florida Villa Deli; Hallandale Beach, FL
• New China Buffet; Hallandale Beach, FL
• Home Town Buffet; Hallandale Beach, FL
• Mott Street Chinese Restaurant; Hallandale Beach, FL
• Eddie Hill’s Sushi Thai; Hallandale Beach, FL
• Red Fish Blue Fish; Hallandale Beach, FL
• Knife Steakhouse; Hallandale Beach, FL
• Flanigan’s Seafood Bar and Grill; Hallandale Beach, FL
• Eddie Hill’s Restaurant; Hallandale Beach, FL
• Frankie’s Pier 5; Hallandale Beach, FL
• Thira Taste-The Greek Islands; Hallandale Beach, FL
• Best Latin Food; Hallandale Beach, FL
• Peppermill on the Waterway; Miami, FL
• Barrio Latino Restaurant; Miami, FL
• Q Lounge; Miami, FL
• Kampai Japanese Restaurant; Miami, FL
• Ocean’s Eleven Lounge-South; Hallandale Beach, FL
• Weber Café; Miami, FL
• Lakeside; Jacksonville, FL
• Bay Club; Jacksonville, FL
• Bell Rive; Jacksonville, FL
• Waterford; Jacksonville, FL
• Green Tree Place; Jacksonville, FL
• Bay Tree; Jacksonville, FL
• Antlers Apartments; Jacksonville, FL
• Royal Cove; Jacksonville, FL
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• Whispering Oaks; Jacksonville, FL
• Villas at the Woodland; Jacksonville, FL
• Art Museum Apartments; Jacksonville, FL
• Landon Imperial Apartments; Jacksonville, FL
• Woodlands; Jacksonville, FL
• Adobe House; Jacksonville, FL
• Triple S Express; San Antonio, TX
• Magestic Food Mart; San Antonio, TX
• Acme Food Mart; San Antonio, TX
• Mireles Party Kegs; San Antonio, TX
• Han-D-Shop; San Antonio, TX
• Shell; San Antonio, TX
• Three Amigos Grocery; San Antonio, TX
• Big Star Food Mart; San Antonio, TX
• Texaco Food Mart; San Antonio, TX
• MG Quick Stop; San Antonio, TX
• Chavez Food Mart; San Antonio, TX
• Timewise Food Store; San Antonio, TX
• Bandera Convenience Food Store; San Antonio, TX
• Joe’s Mart; San Antonio, TX
• Stop N Go; San Antonio, TX
• Valero Corner Store; San Antonio, TX
• Bayeh Exxon; San Antonio, TX
• Izzy Enterprises; San Antonio, TX
• Quik Pay Texaco; San Antonio, TX
• Shell/Jack in the Box; San Antonio, TX
• Hallmark Gardens; Jackson, MS
• Stratford Manor; Jackson, MS
• Crosstimbers Apartments; Houston, TX
• Garden Oaks Village; Houston, TX
• Villa Nueva; Houston, TX
• Tiffany Oaks Apartments; Houston, TX
• Whispering Oaks Apartments; Houston, TX
• Redwood Apartments; Houston, TX
• Yale Court Apartments; Houston, TX
• Candlelight Manor Apartments; Houston, TX
• Candlelight Estates; Houston, TX
• Graceland Terrace Apartments; Houston, TX
• Palisades; Jacksonville, FL
• Three Fountains Apartments; Jacksonville, FL
• Eagle Rock II Rock Two; Jacksonville, FL
• Harold House; Jacksonville, FL
• Randall Court; Jacksonville, FL
• University Square; Jacksonville, FL
• Whispering Palms Apartment Homes; Jacksonville, FL
• Manchester Apartments; Jacksonville, FL
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• Laurel Point Apartments; Jacksonville, FL
• Lion’s Head Apartments; Jacksonville, FL
• Heather Ridge; Jacksonville, FL
• Glenwood Apartments; Jacksonville, FL
• Park View Apartments; Jacksonville, FL
• Woodlands Apartments; Jacksonville, FL
• Oxford Hall Apartments; Jacksonville, FL
• Peppertree Lane Apartments; Jacksonville, FL
• Spring Park Apartments; Jacksonville, FL
• Clearview Townhouses Co-Op; Jacksonville, FL
• South Point Place Apartments; Jacksonville, FL
• Driftwood Apartments; Jacksonville, FL
• Landon Imperial Apartments; Jacksonville, FL
• Roadrunner Food Mart, San Antonio, TX
• Galleria Mall; St. Louis, MO
• Pheasant Ridge Apartments; Rowland Heights, CA
• Plaza Square Apartments; St. Louis, MO
• TNT Nightclub; Youngstown, OH
• Independence Ridge Apartments; Independence, MO
• Great Western Hotel, Norman, OK
• South Green Medical Center; Houston, TX
• Ramada Inn; Charlotte, NC
• Lindbergh Station, MARTA System; Atlanta, GA
• Remington Apartments; Tampa, FL
• Fashion Cents Store; Houston, TX
• Forest Ridge Apartments; Jackson, MS
• Montehiedra Town Center Mall; San Juan, Puerto Rico
• Russell’s Car Wash; Kansas City, MO
• University House Apartments; Tucson, AZ
• Skateland of Florence; Florence, SC
• BP/Amoco Station; Jacksonville, FL
• Texas Station Casino; North Las Vegas, NV
• GP Discount Beverages; Jacksonville, FL
• North Village Green Condominiums; Houston, TX
• Golden House Chop Suey; St. Louis, MO
• Union Planters Bank; Memphis, TN
• Park Towne Apartments; Jackson, MS
• Northwest Texas Hospital parking area; Amarillo, TX
• Lake Castleton Apartments; Indianapolis, IN
• Peachtree Center, MARTA Station; Atlanta, GA
• First Fidelity Bank; Tulsa, OK
• Wild Wild West Casino; Las Vegas, NV
• Hawthorn Suites; Arlington, TX
• Days Inn Hotel; Greenville, SC
• MN Hospitality Motel; Granite City, IL
• Cedars of Baymeadows; Jacksonville, FL
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• Southern Pines; Jacksonville, FL
• Silversmith Creek Apartments; Jacksonville, FL
• Villas at the Woodlands; Jacksonville, FL
• Willow Lakes of Arlington; Jacksonville, FL
• Lighthouse Bay Apartments; Jacksonville, FL
• Laurel Point Apartments; Jacksonville, FL
• Manchester Apartments; Jacksonville, FL
• Waters Inlet Apartments; Jacksonville, FL
• Cimarron Apartments; Jacksonville, FL
• Oak Hammock Apartments; Jacksonville, FL
• Arlington Village Apartments; Jacksonville, FL
• University Square; Jacksonville, FL
• Silver Creek; Jacksonville, FL
• City Ridge Apartments; Jacksonville, FL
• Whispering Oaks; Jacksonville, FL
• Spanish Oaks; Jacksonville, FL
• Riverton Tower Apartments; Jacksonville, FL
• Summer Oak Apartments; Jacksonville, FL
• Regents Apartments; Jacksonville, FL
• Oaktree Apartments; Decatur, GA (now called Kensington Station)
• Prince Avondale Apartments; Decatur, GA
• Avondale Crossings Apartments; Decatur, GA
• Oak Creek Apartments; Decatur, GA
• Willow Ridge Apartments; Decatur, GA
• Oak Forest Apartments; Decatur, GA
• Midway Manor Apartments; Decatur, GA
• Royal Manor Apartments; Decatur, GA
• Brittany Place Apartments; Decatur, GA
• Columns at Decatur; Decatur, GA
• Maple Walk Apartments; Decatur, GA
• Langley Place Apartments; Decatur, GA
• Ridgewood Apartments; Decatur, GA
• Christopher Woods Apartments, Jacksonville, FL
• River Oaks Apartments, Jacksonville, FL
• Hartwood Place Apartments, Jacksonville, FL
• New Outlook Apartments, Jacksonville, FL
• Pelican Pointe Apartments, Jacksonville, FL
• Highlander Apartments, Jacksonville, FL
• Forest Lake Apartments, Jacksonville, FL
• Ashley Lake Apartments, Jacksonville, FL
• Monaco Arms Apartments, Jacksonville, FL
• Northwood Apartments, Jacksonville, FL
• Northlake Apartments, Jacksonville, FL 6517
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(D) Hardy v. Lakewood Fair, Fulton County, GA, 16EV001049

(P) Vittes v. PC Azul, 101st District Court, Dallas County, TX, Cause No. DC-15-12077

(D) McElroy vs. YWCA of Central Alabama, In the Circuit Court of Jefferson County,
Alabama, CV-16-903163

(P) Rezende vs. Amerin Corporation, 17th Judicial Circuit, Broward County, FL.

(P) Peterson v. Kings Gate Partners, District Court of Douglas County Nebraska, Case
No. CI 13-5376

(D) Rowe v. 901 King Street, Duval County, Fl., 2016-CA-004881, trial.

(D) Sharifai v. Suite Nightclub, Duval County, Fl., 2017-CA-007512.

(P) Hamilton v. Racetrac, Circuit Court of Miller County, Arkansas, Third Division, Case
No. 46CV-17-20;

(P) Burgos v. Gupta, 129th Judicial District, Harris County, TX, Cause No. 2015-67546;

(D) Riley v. ADP et al., Case no. 2016-31844-CA-01, 11th Judicial Circuit, Miami-Dade
County, FL,.

(P) Schulz et al. v. Malone Staffing, Jefferson Circuit Court, KY, Division 8, 14-CI-6371

(P) Jefferson v. Lumiere Place, Circuit Court of the City of St. Louis, Cause No. 1722-
CC00185, deposition.

(D) Reed v. Pride of St. Lucie Lodge, N THE CIRCUIT COURT FOR THE 19TH
JUDICIAL CIRCUIT IN AND FOR COUNTY OF ST. LUCIE, FLORIDA GENERAL
JURISDICTION DIVISION CASE NO. 16-CA-001445 (ON), trial

(P) Cardana-Hillary v. ACC, 419th Judicial District of Travis County, TX, D-1-GN-17-
002987.

(D) Weems v. Litco Petroleum et al., Clay County Circuit Court No: 2015-0066 H, trial.

(D) Edwards v. Village of Cascades HOA, Fulton County State Court, Ga, 17EV004277.

(D) Mayberry v. Kilroy et al., Johnson County District Court, KS, 17CV0695.

(P) Molina v. Kroger, Cause 2017-56802; 113th District Court, Harris County, Texas.

(P) Gamez v. Eureka, 125the Judicial District of Harris County, 2018-45860.
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(D) Knight vs. Elberta Crate, Decatur County State Court, Georgia, 16SV00036.

(D) Miller v. Plaza Square Apartments, 20th Judicial Circuit, Lee County, FL, 18-CA-
001835, trial.

(P) Lunford v. V Live et al., 129th Judicial District of Harris County, TX, CAUSE NO.
2017-02927

(D) Mellott v. Santa Fe Station Casino, District Court of Clark County, NV, Case No. A-
19-787678-C

(D) Perkins v. Caribu Apartments, State Court of Fulton County, NO. 18EV000626

(D) Elizalde v. Walmart, 2017CH6341, 288th Judicial District, Bexar County, TX

(D) Murphy v. Washington Prime, Cause No. 2018-CI22280, 166th District Court, Bexar
County, Texas

(P) Guillaume v. N & N Associates, 11th Circuit Court, Miami-Dade, FL;

(D) Johnson v. AMC et al, Collin County, TX CAUSE NO. 471-00022-2019

(D) Gonzales v. New Myrtle Place Apartments, Baton Rouge, LA

(D) Engler/Lichdean v Ritz Carlton et al., CAUSE NO. DC-18-17624, 192nd Judicial
District of Dallas County, TX

(D) Carrizo v. Walmart, 17th Judicial District Broward County, 17-023138.

(D) Black v. OMEGA PSI PHI FRATERNITY, INC., a foreign Corporation OMEGA
PSI PHI FRATERNITY, ETA:NU CHAPTER, INC; SADIDDY ENTERTAINMENT,
LLC, a Florida Limited Liability Company; JAMAL HAMILTON, an individual;
PIERRE BOISROND, an individual; WAYNE BARTON, an individual; WAYNE
BARTON STUDY CENTER, INC., d/b/a BARTON'S BOOSTER'S a Florida
Corporation, PRIME GROUP· SERVICES, INC., f/k/a COPPERTOP SECURITY
SERVICES, INC., and JOHN DOES, (1) through (5) individuals·50-2017-CA-007343;
15th Judicial district Palm Beach County.

(P) Benton v. Baba Enterprises, Shelby County Circuit Court, TN, CT-0425-20

(D) Griffin v. Walmart, 17th Judicial District, Broward County, FL, 19-006366(21)

(P) Murray v. Enforce Security, CAUSE NO. 202061973, 125th Judicial District, Harris
County, TX retention

(D) Felder v. Tucker Inn, Dekalb County, GA, NO. 18A68028
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(D) Lucas v. Duval County School Board, 4th Judicial Circuit, Duval County, FL CASE
NO.: 16-2019-CA-7070

(P) Wright v. Retzer Group, Circuit Court of Shelby County, TN. Expert Affidavit

(D) Rautenberg v. Global Parts, State Court of Dekalb County, 15A-56154-E-3

(D) Monique Martin v. Indian Whalers Players Corp. and Residential Realty Services
Corp. In the Circuit Court of the 15th Judicial Circuit
In and For Palm Beach County, Florida
Case Number 50-2020-CA007363

(D) Takakura v. HPV, AAA NO. 012000108005, Arbitartion Hearing, Houston, TX

(P) Ardon v. Magnolia Cove, Harris County District Court, 129th Judicial District, Cause
No. 2017-08414

(D) Sharifeh v. Marketplace Shoppes, CASE NO.: CACE-16-022768, 17th Judicial
Circuit, Broward County.

(D) Calzadilla v. JYA et al.; IN THE CIRCUIT COURT OF THE ELEVENTH
JUDICIAL CIRCUIT, Miami Dade, Case No.: 2019-014581-CA-01.

(D) Goff v. Charter, Cause No. CC-20-01579-E, Dallas County Court Number 5.

(P) Gonzalez v. XTC, Dallas County Court, report.

(P) Simmons v. Mila Properties et al., Harris County, TX Court, report.

(D) Telusme v. Miami Dade County et al., 11th Judicial Circuit, Miami-Dade County,
CASE NO.: 20-14296 CA 01 (02)

(D) Tillie v. Eagle Gardens, Fourth Judicial Circuit, Duval County, FL, CASE NO.:·
2018-CA-5127

(D) Doe v. Starpower et al. Circuit Court of Baltimore City, 24-C-20-000474

(P) Shawn McKeough, Sr., Individually and as Personal Representative of the Estate of
Shawn McKeough, Jr. v. Summerwood Partners, LLC d/b/a Big Red and Douglas A.
Hendrix, individually, Pulaski County Circuit Court Case No. 60CV-21-3580, affidavit

(P) Wilder et al. v. RHA et al, Cade No.: 2017 L 238, Winnebago, County, IL, report

(D) Bahena et al. v. Chambers et al., County Court at Law No. 3, Dallas County, TX,
CC-19-07431-C
